



















NO. 07-10-00152-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL A

&nbsp;



SEPTEMBER
17, 2010

&nbsp;



&nbsp;

KANAYO EUGENE UBESIE, JR., APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE COUNTY COURT OF NAVARRO
COUNTY;

&nbsp;

NO. 61,354; HONORABLE JOHN JACKSON, JUDGE



&nbsp;



&nbsp;

Before CAMPBELL
and HANCOCK and PIRTLE, JJ.

&nbsp;

&nbsp;

ABATE AND REMAND

&nbsp;

Appellant,
Kanyao Eugene Ubesie, Jr.,
has filed notice of appeal of his conviction by jury of the offense of driving
while intoxicated, and sentence of 180 days confinement in the Navarro County
Jail and $1,000 fine.&nbsp; The sentence of
incarceration was suspended and appellant was placed on community supervision
for a period of two years.&nbsp; The clerk=s record was filed on April 30,
2010.&nbsp; Included within the clerk’s record
is the trial court’s certification of defendant’s right of appeal.

Texas
Rule of Appellate Procedure 25.2(a)(2) requires that a
trial court shall enter a certification of defendant=s right of appeal each time it enters
a judgment of guilt or other appealable order.&nbsp;
Tex. R. App. P. 25.2(a)(2); Hargesheimer v.
State, 182 S.W.3d 906, 911 (Tex.Crim.App.
2006).&nbsp; An appeal must be dismissed if a
certification that shows the defendant has the right of appeal has not been
made part of the record under the applicable rules.&nbsp; Tex. R. App. P. 25.2(d).&nbsp; An appellate court that has an appellate
record that includes a certification is obligated to review the record to
ascertain whether the certification is defective.&nbsp; Dears v. State, 154
S.W.3d 610, 615 (Tex.Crim.App. 2005).&nbsp; 

Pursuant
to an amendment to Rule 25.2(d), which became effective on September 1, 2007,
the certification of defendant=s right of appeal shall include a
notice that the defendant has been informed of his rights concerning appeal, as
well as his right to file a pro se petition for discretionary review.[1]&nbsp; 

The
certification contained in the clerk=s record in this case states that this was not a plea-bargain
case, and that appellant has the right of appeal.&nbsp; However, the certification does not reflect
whether a copy of the certification was given to appellant, and does not
include the written admonishments that must be given to appellant.&nbsp; Therefore, the certification on file is
defective.

Consequently,
we abate this appeal and remand the cause to the trial court for further
proceedings.&nbsp; Upon remand, the trial
court shall utilize whatever means necessary to secure a certification of
defendant=s right of appeal that complies with
Rule 25.2(d).&nbsp; Once properly executed,
the certification shall be included in a supplemental clerk=s record and filed with the Clerk of
this Court on or before October 11, 2010.

This
order constitutes notice to all parties of the defective certification,
pursuant to Rule 37.1 of the Texas Rules of Appellate Procedure.&nbsp; See Tex.
R. App. P. 37.1.&nbsp; If a
supplemental clerk=s record containing a proper
certification is not filed in accordance with this order, this matter will be
referred to the Court for dismissal.&nbsp; See
Tex. R. App. P. 25.2(d).

It is so
ordered.

Per Curiam

Do
not publish.&nbsp; 











[1] The proper form for Certification of
Defendant=s Right of Appeal is contained in
Appendix D of the Texas Rules of Appellate Procedure.







